                                                   Case 2:20-cv-00750-AB-JC Document 39 Filed 06/26/20 Page 1 of 7 Page ID #:359


                                               1 Dennis K. Ames, Esq., State Bar No. 81460
                                                 Marissa A. Warren, Esq., State Bar No. 249583
                                               2 Merna R. Abdelmalak, Esq., State Bar No. 324349
                                                 LA FOLLETTE, JOHNSON, DeHAAS, FESLER & AMES
                                               3 2677 North Main Street, Suite 901
                                                 Santa Ana, California 92705-6632
                                               4 Telephone (714) 558-7008 • Facsimile (714) 972-0379

                                               5 Attorneys for Defendant,
                                                 GARFIELD BEACH CVS, L.L.C., erroneously sued and served
                                               6 herein as CVS Pharmacy, Inc.

                                               7

                                               8
                                                                             UNITED STATES DISTRICT COURT
                                               9
                                                           CENTRAL DISTRICT OF CALIFORNIA – WESTERN DIVISION
LA FOLLETTE, JOHNSON, DeHAAS, FESLER & AMES




                                              10

                                              11   GARY GOLDSMITH,                            CASE NO.: 2:20-cv-00750-AB(JCx)
                                                                                              [Removal from Superior Court of California, Los Angeles,
                                              12                Plaintiff,                    Case No.: 19STCV44041]

                                              13         vs.                                  District Judge Andre Birotte, Jr.
                                                                                              Magistrate Judge Jacqueline Chooljian
                                              14   CVS PHARMACY, INC.; DOES 1
                                                   through 10,                                DEFENDANT’S RULE 26(F) REPORT
                                              15
                                                                Defendants.                   Scheduling Conference:
                                              16                                              DATE:      July 10, 2020
                                                                                              TIME:      10:00 A.M.
                                              17

                                              18                                              ACTION FILED: December 9, 2019
                                              19
                                                         Defendant, GARFIELD BEACH CVS, L.L.C. (“Defendant”) hereby submit its
                                              20
                                                   Rule 26(f) Report.
                                              21
                                                                     PRELIMINARY STATEMENT BY DEFENDANT
                                              22
                                                         Counsel for Defendant made efforts to meet and confer with Plaintiff’s counsel
                                              23
                                                   regarding the filing of a Joint Report per the Court’s order re scheduling conference.
                                              24
                                                   Pursuant to a previous telephone conversation with Plaintiff’s counsel, counsel for
                                              25
                                                   Defendant sent a draft joint report and scheduling worksheet on Wednesday, June 24,
                                              26
                                                   2020. On June 26, 2020 at 10:10 a.m., Plaintiff’s counsel emailed defense counsel and
                                              27
                                                   inquired as to whether Defendant would stipulate to continue the scheduling conference.
                                              28
                                                   Defense counsel replied on June 26, 2020 at 12:47 p.m. that she did not have authority
                                                                                              -1-                        Case no.: 2:20-cv-00750-AB(JCx)
                                                                             DEFENDANT’S RULE 26(F) REPORT
                                                   Case 2:20-cv-00750-AB-JC Document 39 Filed 06/26/20 Page 2 of 7 Page ID #:360


                                               1   from her client to stipulate to a continuance of the conference, and it was too late to
                                               2   request such a continuance as the joint report was due that day. Defense counsel attached
                                               3   a revised draft of the joint report and requested Plaintiff’s counsel provide his comments
                                               4   and/or revisions so that the report could be filed with the court today, June 26, 2020.
                                               5   After receiving no response, defense counsel called counsel for Plaintiff but was unable
                                               6   to reach him. Defense counsel left Plaintiff’s counsel a voicemail message. Defense
                                               7   counsel thereafter emailed Plaintiff’s counsel again in follow up requesting that he
                                               8   provide his revisions by 4:45 p.m. in order to file the report by 5:00 p.m. on the date it
                                               9   was due, June 26, 2020. Plaintiff’s counsel did not respond by 5:00 p.m., and as such,
LA FOLLETTE, JOHNSON, DeHAAS, FESLER & AMES




                                              10   Defendant submits the instant Rule 26(f) report in compliance with this Court’s order
                                              11   setting scheduling conference (Dkt. 10).
                                              12         a.     Statement of the Case:
                                              13         Plaintiff contends that on January 11, 2019 he presented a prescription for MS
                                              14   Contin ER (an opioid medication) written by his primary care provider to a CVS Pharmacy
                                              15   location operated by Defendant, and that an agent and/or employee of Defendant, Garfield
                                              16   Beach CVS, L.L.C. declined to fill his MS Contin ER and then confiscated his prescription
                                              17   resulting in his claimed injuries and damages.
                                              18         Defendant denies that any of its agents confiscated Plaintiff’s prescription and
                                              19   maintains that its agent’s denial of the prescription for MS Contin ER on January 11, 2019
                                              20   was reasonable and within the professional judgment of the pharmacist. Defendant further
                                              21   maintains that there were at least two non-discriminatory bases for the refusal to fill
                                              22   Plaintiff’s prescription on January 11, 2019: (1) Plaintiff presented a prescription which
                                              23   was not compliant with new DEA regulations concerning prescriptions for schedule II
                                              24   narcotic medications, including MS Contin ER; and (2) Prior to January 11, 2019, its agents
                                              25   had verified and dispensed MS Contin ER to Plaintiff in November and December 2018,
                                              26   had communications with Plaintiff and his prescribing physician requesting that Plaintiff
                                              27   be seen by pain management in order for the pharmacy to continue refilling his prescription
                                              28   for MS Contin ER under the circumstances, as the pharmacy was not comfortable under

                                                                                                -2-                  Case no.: 2:20-cv-00750-AB(JCx)
                                                                           DEFENDANT’S RULE 26(F) REPORT
                                                   Case 2:20-cv-00750-AB-JC Document 39 Filed 06/26/20 Page 3 of 7 Page ID #:361


                                               1   the circumstances dispensing MS Contin ER written by Plaintiff’s primary care provider.
                                               2   Therefore, because Plaintiff’s prescription on January 19, 2019 was written again by his
                                               3   primary care provider, and because Plaintiff’s prescription was likely provided on the
                                               4   outdated prescription pad, the pharmacist used his professional judgment and declined to
                                               5   fill Plaintiff’s prescription.
                                               6          b.      Subject Matter Jurisdiction:
                                               7          This Court has diversity jurisdiction over this action because there is complete
                                               8   diversity between the parties and the amount in controversy as alleged exceeds $75,000.
                                               9          c.      Legal Issues:
LA FOLLETTE, JOHNSON, DeHAAS, FESLER & AMES




                                              10          The issues to be litigated in this action include:
                                              11          1. Whether Defendant breached the standard of care in refusing to dispense
                                              12               Plaintiff’s medication to him on January 11, 2019.
                                              13          2. Whether Defendant’s refusal to dispense Plaintiff’ s medication to him on
                                              14               January 11, 2019 caused Plaintiff’s claimed injuries and damages.
                                              15          3. Whether Plaintiff suffered any injuries and damages as a result of Defendant’s
                                              16               refusing to dispense Plaintiff’s medication to him on January 11, 2019
                                              17          4. Whether Defendant confiscated Plaintiff’s prescription on January 11, 2019, and
                                              18               if so, whether Defendant’s alleged actions constituted conversion.
                                              19          5. Whether Defendant’s actions on January 11, 2019 constitute an unfair business
                                              20               practice.
                                              21          6. Whether Plaintiff is a member of a protected class for purposes of this lawsuit.
                                              22          7. Whether Defendant’s actions violated the Unruh Civil Rights Act.
                                              23          8. Whether Defendant’s actions constituted an unfair business practice.
                                              24          d.      Parties, Evidence, etc.:
                                              25                  1.       Parties: Gary Goldsmith, Plaintiff; GARFIELD BEACH CVS, L.L.C.,
                                              26                           Defendant.
                                              27   ///
                                              28   ///

                                                                                                 -3-                 Case no.: 2:20-cv-00750-AB(JCx)
                                                                              DEFENDANT’S RULE 26(F) REPORT
                                                   Case 2:20-cv-00750-AB-JC Document 39 Filed 06/26/20 Page 4 of 7 Page ID #:362


                                               1         e.     Damages:
                                               2         Plaintiff contends damages exceed the $75,000 threshold for diversity jurisdiction.
                                               3         f.     Insurance:
                                               4         Defendant is self-insured in an amount sufficient to cover any claimed losses in this
                                               5   lawsuit.
                                               6         g.     Motions:
                                               7         Plaintiff has brought a motion for leave to amend to seek punitive damages and an
                                               8   additional cause of action. If Plaintiff’s motion is granted, Defendant anticipates filing a
                                               9   motion to dismiss.      Defendant does not anticipate adding any additional parties or
LA FOLLETTE, JOHNSON, DeHAAS, FESLER & AMES




                                              10   attempting to transfer venue. Defendant will file a motion for judgment and motions in
                                              11   limine.
                                              12         h.     Dispositive Motion:
                                              13         Defendant plans to file a motion for summary judgment.
                                              14         i.     Manual for Complex Litigation:
                                              15         Not applicable.
                                              16         j.     Status of Discovery:
                                              17         The parties have engaged in limited formal discovery. Defendant has subpoenaed
                                              18   medical records from Plaintiff’s primary care provider but is not yet in receipt of those
                                              19   records. Pursuant to Fed.R.Civ.P. 26(f), the parties plan to identify the witnesses likely to
                                              20   have knowledge relevant to this action. In addition, they will produce to each other copies
                                              21   of all documents upon which they intend to rely. Defendant will do so after a protective
                                              22   order concerning documents has been entered. Defendant has compiled documents from
                                              23   its systems related to the filling of the medication fill and dispensing at issue in this case,
                                              24   which have not yet been provided to Plaintiff.
                                              25         Defendant has requested Plaintiff enter into a Stipulation for Protective Order to be
                                              26   submitted to the Court for an Order entering said Stipulation, after which, the Defendant
                                              27   will proceed with exchange of pertinent documents already in its possession. If Plaintiff
                                              28

                                                                                                -4-                   Case no.: 2:20-cv-00750-AB(JCx)
                                                                           DEFENDANT’S RULE 26(F) REPORT
                                                   Case 2:20-cv-00750-AB-JC Document 39 Filed 06/26/20 Page 5 of 7 Page ID #:363


                                               1   does not agree, Defendant will bring a motion before the Magistrate seeking a protective
                                               2   order.
                                               3            k.    Defendant’s Discovery Plan:
                                               4            Defendant anticipates serving written discovery and deposing Plaintiff and any
                                               5   additional pertinent witnesses, such as Plaintiff’s treating physicians, who are identified by
                                               6   Plaintiff in disclosures and by Plaintiff’s medical records. Defendant also anticipates
                                               7   subpoenaing additional medical records of Plaintiff related to the injuries he has alleged.
                                               8            l.    Discovery Cut-Off:
                                               9            Initial Disclosures – July 24, 2020
LA FOLLETTE, JOHNSON, DeHAAS, FESLER & AMES




                                              10            Non-expert Discovery Cut-Off – 2/26/2021
                                              11            m.    Expert Discovery:
                                              12            Initial Expert Disclosure – 1/22/2021
                                              13            Rebuttal expert Disclosure – 2/19/2021
                                              14            Expert Discovery Cut-Off – 3/2/2021
                                              15            n.    Settlement Conference/Alternative Dispute Resolution (“ADR”):
                                              16            Defendant requests a settlement conference before the magistrate judge at this time.
                                              17            o.    Trial Estimate:
                                              18            The parties estimate trial will take 7 court days. Both the Plaintiff and Defendant
                                              19   request a jury trial. Defendant anticipates calling 3-4 percipient witnesses and 2 to 3 expert
                                              20   witnesses.
                                              21            p.    Trial Counsel:
                                              22            Defendant’s Trial Counsel: Dennis K. Ames, Esq. and Marissa A. Warren, Esq.
                                              23            Plaintiff’s Trial Counsel: Peter Borenstein, Esq.
                                              24            q.    Independent Expert of Master:
                                              25            Not applicable.
                                              26            r.    Schedule Worksheet:
                                              27            Please see attached.
                                              28   ///

                                                                                                  -5-                Case no.: 2:20-cv-00750-AB(JCx)
                                                                              DEFENDANT’S RULE 26(F) REPORT
                                                   Case 2:20-cv-00750-AB-JC Document 39 Filed 06/26/20 Page 6 of 7 Page ID #:364


                                               1           s.    Other issues:
                                               2           Defendant does not believe there are other issues which require addressing at this
                                               3   time.
                                               4

                                               5    Dated: June 26, 2020             LA FOLLETTE, JOHNSON, DeHAAS, FESLER &
                                                                                     AMES
                                               6
                                                                                     /s/ Marissa A. Warren
                                               7                                     DENNIS K. AMES, ESQ.
                                                                                     MARISSA WARREN, ESQ.
                                               8                                     MERNA R. ABDELMALAK, ESQ.
                                                                                     Attorneys for Defendant,
                                               9                                     GARFIELD BEACH CVS, L.L.C.
LA FOLLETTE, JOHNSON, DeHAAS, FESLER & AMES




                                              10

                                              11

                                              12

                                              13

                                              14

                                              15

                                              16

                                              17

                                              18

                                              19
                                              20

                                              21

                                              22

                                              23

                                              24

                                              25

                                              26
                                              27

                                              28

                                                                                               -6-                 Case no.: 2:20-cv-00750-AB(JCx)
                                                                           DEFENDANT’S RULE 26(F) REPORT
                                                   Case 2:20-cv-00750-AB-JC Document 39 Filed 06/26/20 Page 7 of 7 Page ID #:365


                                                                               CERTIFICATE OF SERVICE
                                               1
                                                   STATE OF CALIFORNIA                               ]
                                               2                                                     ] ss.
                                                   COUNTY OF ORANGE                                  ]
                                               3
                                                       I am employed in the County of Orange, State of California. I am over the age of
                                               4 18 and not a party to the within action; my business address is LA FOLLETTE,
                                                 JOHNSON, DeHAAS, FESLER & AMES, 2677 North Main Street, Suite 901, Santa Ana,
                                               5 California 92705-6632.

                                               6        On June 26, 2020, I served the foregoing document described as to be
                                                 DEFENDANT’S RULE 26(F) REPORT electronically filed with the United States
                                               7 District Court, Central District of California – Western Division by using the CM/ECF
                                                 system.
                                               8

                                               9          I certify that the following parties or their counsel of record are registered as ECF
LA FOLLETTE, JOHNSON, DeHAAS, FESLER & AMES




                                                   Filers and that they will be served by the CM/ECF system:
                                              10
                                                 Peter Borenstein, Esq.
                                              11 P.O. Box 885
                                                 Culver City, CA 90232
                                              12 Phone: (213) 362-8740
                                                 Fax: (877) 460-3681
                                              13 Email: peter@brnstn.org

                                              14   Attorneys for Plaintiff, GARY GOLDSMITH
                                              15

                                              16         I declare under penalty of perjury under the laws of the State of California that the
                                                   above is true and correct.
                                              17
                                                         Executed on June 26, 2020, at Santa Ana, California.
                                              18

                                              19                                             /s/Jenna Koval
                                                                                             JENNA KOVAL
                                              20

                                              21

                                              22

                                              23

                                              24

                                              25

                                              26
                                              27

                                              28
                                                                                                                 Case no.: 2:20-cv-00750-AB(JCx)
                                                                                               -1-
                                                                                  CERTIFICATE OF SERVICE
